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                                                                                                                            E-FILED
                                                                                    Thursday, 14 September, 2006 09:15:57 AM
                                                                                                 Clerk, U.S. District Court, ILCD


                                           CENTRAL               DISTRICT OF              ILLINOIS

        UNITED STATES OF AMERICA

                            v.                                               CRIMINAL COMPLAINT
           DERRICK R. WALKER                                                   ASE NUMBER: 06-               /hi--
                                                                                                                a G q\




of my knowledge and belief. On or about                           September 13,2006                      in Sanaamon

County, in the         Central             District of            Illinois               defendant:


          possession with the intent to distribute 50 or more grams of cocaine base ("crack")
                                        and felon in possession oc H F,agmh                                                  6.&c
                                                                                                                             ~113v
in violation of Title 21 United States Code, Sections 841(a)(l), 841(b)(l)(A), and Title 18 United States

Code, Section 922(g).

I further state that I am an                   DEA Special Aqent                and that this complaint is based on the
                                                Official Title
following facts:

                                                      See attached affidavit



Continued on the attached sheet and made a part hereof:                        =Yes              oNo                   A

                                                                                    sl Glenn
                                                                                    s/ Glenn Haas
                                                                                             Haas
                                                                             -C--    -                           -
                                                                                         Signature of Complainant      -J




Sworn to before me and subscribed in my presence,

Se~tember13,2006                   ) !'(   8                 at      Sprinqfield, Illinois
Date                                                                  City and State
                                                                     rCI                   ,         A



Byron G. Cudmore                                                        sl Byron
                                                                        s/ Byron G.
                                                                                 G. Cudmore
                                                                                    Cudmore
U.S. Maaistrate Judqe
Name & Title of Judicial Officer                                                       Signature of Judicial Officer
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STATE OF ILLINOIS

COUNTY OF SANGAMON

                                     AFFIDAVIT


      Glenn Haas, being duly sworn, states:

      1.     1am a Special Agent of the Drug Enforcement Administration, and

have been so employed since August 1996. I am presently assigned to the

Springfield, Illinois Resident Office. Prior to working for the Drug Enforcement

Administration, I served for approximately ten years as a law enforcement officer

with the Illinois State Police and the St. Clair County, Illinois Sheriff's

Department. During that time I served as a detective in the narcotics field for

approximately three years. I have personally conducted and/or assisted in

numerous investigations of criminal violations involving controlled substances.

      2.     This affidavit is made in support of a complaint charging DERRICK

R. WALKER with possession with the intent to distribute 50 or more grams of

cocaine base ("crack") in violation of Title 21, United States Code, Sections

841(a)(l),and felon in possession of a firearm, in violation of Title 18, United

States Code, Section 922(g) . A warrant for the arrest of Derrick R. Walker is

requested.
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         3.   I am familiar with the following facts based upon my own personal

investigation or information officially furnished to me by other law enforcement

agents, witnesses or confidential sources.

         4.   On September 12,2006, the officers with the Jacksonville Police

Department were investigating a burglary. It was reported that a stolen washing

machine was in the rear of a van parked at 695 North Clay, Jacksonville, Illinois.

The van was reportedly in possession of Kenneth Jackson, Jr. Kenneth Jackson,

Jr. is currently under parole in the State of Illinois. Parole Officer Gordon Gibbs

advised the Jacksonville Police if Kenneth Jackson, Jr. was observed he wanted to

be contacted. At approximately 1:21p.m., Officer Meyer observed Kenneth

Jackson, Jr. move the van in the driveway at 695 North Clay, and then enter the

residence. Parole Officer Gibbs was contacted and agreed to respond to the

scene.

         5.   When Parole Officer Gibbs arrived, he observed another parolee,

Derrick R. Walker, standing on the porch of the residence. It should be noted

that Walker is currently on parole for manufacture/delivery of a controlled

substance in the State of Illinois.

         6.   Upon seeing Parole Officer Gibbs, Walker quickly entered the

residence. Parole Officer Gibbs then approached the residence and spoke with
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Walker's girlfriend, Arnell Jackson, who was still seated on the front porch.

Arnell Jackson allowed the parole officer to enter the residence. Parole Officer

Gibbs met with Walker in the front room of the residence. Walker was visibly

nervous and sweating profusely. Parole OfficerGibbs then instructed Walker

that he was going to "pat down" Walker. At that time, Walker attempted to

move towards the kitchen. Parole OfficerGibbs grabbed Walker by his arm and

told him not to resist. Walker then attempted to jerk his arm away from Parole

Officer Gibbs at which time he was taken to the ground. Jacksonville Detective

McMinn observed the struggle and entered the residence to assist Parole Officer

Gibbs. Walker was secured in handcuffs and officers searched his person.

Located in the right front coat pocket was a loaded Taurus .25 caliber semi-

automatic pistol. Located in Walker's left coat pocket was an unloaded Llama .22

caliber semi-automatic pistol. Located in Walker's waistband was a loaded Accu-

Tek 9mm pistol. Located in Walker's right pants pocket were 12 rounds of .25

caliber ammunition and an electronic scale, which contained white residue.

Located in his left pants pocket was a clear bag containing a baggie of apparent

crack cocaine. The baggie and its contents weighed approximately 64 grams. A

field test on the substance showed positive results for the presence of cocaine.
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      7.    ATF Agent Randy Strode was contacted and given the identifying

dormation on the three firearms seized from Walker's person. Agent Strode

advised that all three firearms were manufactured outside of the State of Illinois.

      Further, Affiant sayeth not.         -
                                 s/ Glenn Haas
                                 S/Glenn  Haas
                               L       -   -                      -
                                      Glenn Haas, DEA Special Agent


Subscribed and sworn to before me
&$ember 13,2096. A , / ! 4 g ~ m
s l Byron
s/        G. Cudmore
    Byron G. Cudmore
      -
B Y R O ~G. CUDMORE
UNITED STATES MAGISTRATE JUDGE
